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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:14CR155
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
JODI MURATELLA,                               )
                                              )
                     Defendant.               )


       This case is before the court on the defendant Jodi Muratella's Motion for
Reconsideration of Detention Order (#137).        The motion requests a release of the
defendant to participate in an intensive outpatient program at the Miracles Program at the
Siena Francis House. The motion is denied without hearing.
       A review of the defendant's Pretrial Services report (#54) shows the defendant has
been previously convicted of three felony drug offenses (1995, 2006, 2006). The defendant
was also convicted of failure to appear in 2006. Additionally, the defendant has been
involved in several drug-treatment programs, including residential treatment through the
Bureau of Prisons during her last incarceration, and inpatient treatment at the Valley of
Hope in O'Neill, Nebraska in 1995.
       Defendant's proposed outpatient treatment program fails to rebut the presumption
of detention under 18 U.S.C. § 3142(e) and fails to address the court's concern as to flight
and danger as set out in the court's September 19, 2014, Detention Order (#61).
       IT IS ORDERED, defendant Jodi Muratella's Motion for Reconsideration of Detention
Order (#137) is denied without hearing.
       Dated this 26th day of February 2015.
                                          BY THE COURT:


                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
